           Case 2:22-cv-00389-DCN Document 5 Filed 10/18/22 Page 1 of 3




                          UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO


    CODY J. SCHUELER, an individual,
                                                 Case No. 2:22-cv-00389-DCN
                       Plaintiff,
                                                 LITIGATION ORDER AND NOTICE
    v.                                           OF TELEPHONIC SCHEDULING
                                                 CONFERENCE
    FOUR SQUAREBIZ, LLC, a Wyoming
    limited liability company; KEITH O.
    CREWS, an individual and the
    associated marital community; MICAH
    EIGLER, an individual and the
    associated marital community; and
    JOHN AND JANE DOES 1-10,

                       Defendants.


         THEREFORE, IT IS HEREBY ORDERED AS FOLLOWS:

1.       Plaintiff must serve this Order on all parties who have not entered an appearance

via PACER to date. Within thirty days of the filing of the Complaint, the Plaintiff must file

with the Court a status report regarding service of the summons and complaint pursuant to

Dist. Idaho L. Rule 4.1.1 Alternatively, Plaintiff may file proof of service in lieu of the

status report otherwise required.

2.       Pursuant to Dist. Idaho L. Rule 16.1, the parties must meet and determine:




1
 The Court’s local rules may be found at the following URL address:
http://id.uscourts.gov/clerks/rules_orders/Civil_Local_Rules.cfm


LITIGATION ORDER AND NOTICE OF TELEPHONIC SCHEDULING CONFERENCE - 1
            Case 2:22-cv-00389-DCN Document 5 Filed 10/18/22 Page 2 of 3




       A.      A litigation plan and a discovery plan, including the issues related to

discovery of electronically stored information, if either party contemplates such discovery.

The Court’s litigation plan form and the discovery plan form may be found on the District

Court’s website, www.id.uscourts.gov, under Forms.2

       B.      If the case is suitable for the Court’s alternative dispute resolution (ADR)

program, which type of ADR process is best suited to the specific circumstances of the

case, and when the most appropriate time would be for the ADR session to be held. Dist.

Idaho L. Rule 16.4.

3.     Initial disclosures must be made by the parties pursuant to Federal Rule of Civil

Procedure 26.1 and Dist. Idaho L. Rule 16.1.

4.     If this matter is assigned to a magistrate judge, Counsel must review and be familiar

with Dist. Idaho L. Rule 73.1 regarding the consent process for proceeding before a

magistrate judge. Additional Information about the consent process may be found on the

Court’s website.3

5.     The Court will conduct a telephonic scheduling conference on December 2, 2022,

at 10:00 a.m. mountain time, (Boise chambers) for purpose of confirming the deadlines

proposed by the parties in the joint Litigation Plan.

6.     Plaintiff must initiate the conference call by placing it to (208) 478-8394 and must

have all appropriate parties on the line.



2
  The URL address to access the Court’s forms may be found here:
http://id.uscourts.gov/district/forms_fees_rules/Civil_Forms.cfm
3
  Information about the consent process may be found at the following URL address:
http://www.id.uscourts.gov/district/judges/Magistrate_Judge_Consent.cfm


LITIGATION ORDER AND NOTICE OF TELEPHONIC SCHEDULING CONFERENCE - 2
         Case 2:22-cv-00389-DCN Document 5 Filed 10/18/22 Page 3 of 3




7.    On or before November 25, 2022, the parties must file with the Court the joint

Litigation Plan and Discovery Plan.


                                             DATED: October 18, 2022


                                             _________________________
                                             David C. Nye
                                             Chief U.S. District Court Judge




LITIGATION ORDER AND NOTICE OF TELEPHONIC SCHEDULING CONFERENCE - 3
